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February 8, 2018

Via email: chambersnysdseibel@nysd. uscourts.gov
Honorable Cathy Seibei

The I-Ionorabie Charles L. Brieant Jr. Federal Buiidirig
& United States Courthouse

Southern District of New York

300 Quarropas Street, Room 621

White Piains, New York 10601~4150

Re.‘ fn re.' Bm‘bam Kavovit et al. v. Tulis et al.
Cr'vz'l Acfion No. 7.']8-cv-01125~CS

Dear lodge Seibel:

This letter is submitted on behalf of Appeiiant Newman Ferrara LLP in response to the
Court’s recently filed direction that Appellant’s brief is due orr March 12, 2018 (Dkt. No. 7 dated
February 8, 2018).f

Our office is counsel to the Appellant and I have primary responsibility for the file. Due
to a major surgical procedure to be conducted later this month, l Will be away from the office for
approximately three (3) Weeks. Subj eot to this Court’s consent, l have consulted With all counsel
Who have agreed to an adjourrunent of the briefing schedule We would respectfully request that
the briefing Schedule be modified So as to provide that

l. By April 20, 2018 the Appeiiant file its brief;
2. By May 21, 2018 the Appeiloes tile their Reply Briefs and
3. By June 4, 20i8 the Appellant tile its Reply.

   

cc: David L. 'I`illem, Esq. (via email: F '.tiilem@WiisonelSer.com)
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1 No previous requests for an extension has been requested

 

